                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

IN RE:                                             )
                                                   )       CASE NO.: 18-80440-CRJ-7
RUSTY LEE GREENWELL,                               )
SSN: xxx-xx-4426                                   )
                                                   )
ANGEL LEIGH GREENWELL,                             )
SSN: xxx-xx-1112                                   )       CHAPTER 7
                                                   )
    Debtors.                                       )
______________________________)
                                                   )
ANGEL LEIGH GREENWELL                              )
                                                   )
         Plaintiff,                                )
                                                   )
v.                                                 )       AP NO.:        19-___________
                                    )
HARLEY-DAVIDSON FINANCIAL SERVICES, )
HARLEY-DAVIDSON CREDIT              )
CORPORATION, and                    )
HARLEY-DAVIDSON, INC.               )
                                    )
     Defendants.                    )


             COMPLAINT FOR VIOLATION OF THE DISCHARGE ORDDER

     COMES NOW the Debtor in the above-styled Chapter 7 case, ANGEL LEIGH
GREENWELL, and shows unto this Honorable Court the following:

       1.     The Debtor filed a voluntary petition under 11 U.S.C. Chapter 13 on February 14,
2018, which was subsequently converted to a Chapter 7 Bankruptcy on February 27, 2018. She
received her Bankruptcy Discharge on May 22, 2018. The Court has jurisdiction of this
adversary proceeding pursuant to 28 U.S.C. §1334. Venue is proper under 28 U.S.C. §1408.

       2.    This is a core proceeding pursuant to 28 U.S.C. Section 157(b)(2)(A) in that it
concerns administration of the estate.

        3.     By information and belief, HARLEY-DAVIDSON CREDIT CORPORATION is
a subsidiary ofHARLEY-DAVIDSON FINANCIAL SERVICES, which is a subsidiary of
HARLEY-DAVIDSON, INC.




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                                                                     AP No.: 19-_ _ _ __

       4.       The Defendant, HARLEY-DAVIDSON CREDIT CORPORATION, was a listed
Creditor in the Bankruptcy filed by the Debtor, ANGEL LEIGH GREENWELL. The Defendant,
HARLEY-DAVIDSON CREDIT CORPORATION, filed a Proof of Claim in the Debtor's
Chapter 13 Bankruptcy before it was converted to a Chapter 7 Bankruptcy, and therefore, the
Defendant has clear knowledge ofthe Debtor's Bankruptcy. No reaffirmation agreement was
reached between the Plaintiff and Defendants.

        5.     After the Discharge was entered, the Defendants repossessed the 2014 Harley-
Davidson FLSTC Heritage Softail Classic, which was the collateral attached to the
aforementioned debt. Subsequently, the Plaintiff, ANGEL LEIGH GREENWELL, received a
demand letter from the Defendant, HARLEY-DAVIDSON FINANCIAL SERVICES, on behalf
of the other Defendant, HARLEY-DAVIDSON CREDIT CORPORATION. The Letter, dated
February 25, 2019, demands payment in the amount of$12,629.35, and is attached as Exhibit
"A".

        6.      The Defendants are in willful violation of the Discharge Order entered in this
case. Plaintiff has suffered emotional distress and mental anguish and requests an award of her
actual damages, attorney fees, and costs in bringing this action.

        WHEREFORE, THE FOREGOING PREMISES CONSIDERED, the Plaintiff demands
Judgment against the Defendants for actual and punitive damages and attorney fees for the
Defendants' willful violation of the Discharge Order. Plaintiff prays for such other, further and
different relief as unto your Honor may seem just and proper in the premises.




                                              Is/ Brandon N. Smith
                                             BRANDON N. SMITH
                                             Attorney for Plaintiff
                                             DEZENBERG & SMITH, PC
                                             908-C North Memorial Parkway
                                             Huntsville, Alabama 35801
                                             Phone: (256) 533-5097




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SERVICE:

Harley-Davidson Credit Corp
POBox9013
Addison, TX 75001

Harley-Davidson Financial Services
Dept 15129
Palatine, IL 60055-5129

Harley-Davidson, Inc.
3700 W. Juneau Ave
Milwaukee, WI 53208




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                              Harley-Davidson Financial Services

          Dept. 15129                                                                                                            TEL (888) 893-7811
           Palatine, IL 60055-5129                                                                                               FAX (775) 886-3054
                                                                                                                                   www.myhdfs.com
           February 25, 2019
         10/12/1810:12 AM 3 0001043 20190226 0B7RW101 HDFS 1 oz DOM OB7RW10000"156315 F1


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         ANGEL L GREENWELL                                                                                   ~b ,lD; ~<"'t.
         90 GLENGARRY DR
                                                                                           F.il.             {_ W~c~·~el<:Q~:}
         LACEYS SPRING AL 35754-4152
                                                                                           ~                                          EXHIBIT



         RE: Account #20160325656700               l
                                                                                                                                        A
              2014 HARLEY-DAVIDSON FLSTC HERITAGE SOFTAIL CLASSIC
--~-   -- ----cnarge-offBalance: $12,-629.35-- --         --


         Dear Angel Greenwell,

         Our records indicate that your account with Harley-Davidson Credit Corp. (HDCC) has been charged
         off due to severe delinquency.

         This letter shall serve as a demand for payoff in the amount of $12,629.35 or surrender of the
         collateral to our agent upon receipt of this letter. If we do not receive the payoff or the collateral,
         HDCC will consider all available remedies under the law, including repossession.



         Regards,

         Harley-Davidson Financial Services




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         RECCODEM
         (REC 01.00) CO Demand
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